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556.        Petitioner and otherssim ilarly situated being these A m erican people.

557.        Petitionerand others sim ilarly situated do notow e any m oney to

LEHM AN BROTHER S BAN K FSB,supra;

558.        Petitionerand otherAm ericanssim ilarly situated presum ptively m ay have

m ade a singlem onthly M ortgage paym entto LEI'
                                               IM AN BROTHERS BAN K FSB,

consum m ating the negotiation;for exam ple,

559.        AUROM        asServicerforLEHM AN BROTHERS BANK FSB ,ab initio,

servicing duty com m enced Novem ber 15th2006,tw o weekspost-closing, asitrelates

to Petitioner'sreal-estateClosing;thereafter,

560.        AUROR A presumptively disbursed Petitioner'sfirstm onthly M ortgage-

Loan paym entto LEIIM AN B RO THER S B AN K FSB ,buteach subsequentm onthly

M ortgage-Loan paym entwassetoverto aparty otherthm1LEHM AN BROTHERS

B AN K FSB ,unbeknow nstto Petitioner atalltim e relevant;as such,

561.        A URORA,orratherthe occupantofthe OfficeofCEO and PRESIDEN T

ofA U R OR A TO M W lr     knew ,or should have know n,LEHM AN BR O TH ER S

BAN K FSB did notH old orOwn any right,title,orinterest,lawfully,legally norin

equity ofPetitioner'sdebt,orthe debtofotherAm ericanssim ilarly sim ated;

562.        AURO RA etal.,knew orshould have known w ithin a M onth of

A UR O R A Servicing said debtw ho the m onthly m ortgage paym entis setoverto,a/k/a

theCreditor/Benefciary.



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                                   W H.
          AURO R A O FFER S LO AN M O DIFICA TION IN BA D FM TH

563.         Petitionerre-allegesand affirm seach and every preceding paragraph of

this Com plaintand incorporate sam e here as ifalleged anew .

564.         D efendantA U R O R A and itsA gentshave m ade m any offers to M odify

Petitioner'sM ortgage-Loan;if,

565.         Petitionerwould continueto m ake pam entsto A URORA;however,

566.         Petitionerhas m ade num erousrequests ofA U R OR A to prove itsC laim ;

567.         A U R O R A unable,or unw illing to prove itsC laim em ploys the law 51711of

KahrlW utscherLLP to respond privately,did do so by inform ing PetitionerAURO RA

isjusttheServicerta/k/aThird-partpDebt-collector);the,
568.         Real-partp in-lnterestisLEHM AN BRO THERS H OLDING IN C,a

strangerto the O riginal-N egotiation;

569.         LEHM AN BR O TH ER S H O LD IN G IN C is alleged to be the realPartp in-

lnterest,a party Petitionerdid notknow existed tm tilthatm om entin tim e,M arch 24

2010;ergo,

570.         AIJROR A disclosesitisnotcollecting the debtforthe OriginalCreditor.

571.         KahrlW utscherLLP allegesto representAURORA,pursuantto itsletters,

no m ention ofrepresenting LEHM AN BR O TH ER S H O LD IN G Inc.;




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572.         KahrlW utscherLLP providesPetitionerwith HAM P and non-

application documents,with arequestto tillouttheForm swith a1lsupporting

docum ents,and retum snm eto thatlaw Firm directly;as,

573.         Grf-eisoftheessence.Aurorawillnotposfpoaeors= pea#foreclosure
proceedings,ffla.
                #,whileitwaitsyourdelivery ofacompletedIoan mod6 cation
application.''gem phasisaddedlSeeççExhibitM ''hereto attached and incom orated

herein by reference,offerabove m adeby TravisJ.Elimson.

574.         AUROR A on the otherhand isoffering Petitionerthe HAM P program asthe

Servicerofthe debt;see ttExhibitN ''hereto attached and incom orated herein by reference,

delivered by U .S.PostalServiceunderCertiled M ailN o.,7107 83816540 8248 8745;

575.        A URORA offering Petitionerthe I-IAM P program asthe Servicerofthe

debtdoesnotidentify itsPrincipal;however,

576.        D ecem ber 12th2008 AURORA testified itisthe Ownerand H olderofthe

M ortgage and NOTE in CaseN O .07-80998-ClV -RY SKA>           /VITUNAC;

577.        AURORA cfal.,testifed said M ortgage-No'rE istm deritscare,custody

and controlasof 12thofD ecem ber2008 and providesa copy ofthe unrecorded

Assignmentasprimafascia evidence,seeattachmentto<çExhibitA'''
578.        D efendantAU ROR A com menced an action againstthisPetitionerM ay

15tb2009,CaseN O 09-CA-017057,in itsown nam e,foritsow n benefit,asOw nerand
                   .




H older ofthe M ortgage and N O TE,as the R eal-party-in-lnterest;



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579.        D efendantherein,butPlaintiffin CaseN O.09-CA-017057,AUROR A on

M ay 15th2009,COUNT I,paragraph 5;aThe#lafn/c (AURORA)ownsand holdsthe

NoteandM ortgage.''(emphasisadded)(fraudulentfactum)
580.        Defendantherein AURORA,butPlaintiffin CaseN O.09-CA-017057,

ComplaintCOUNT lllpleads,in parq a...thePlaintW wasinpossession oftheNote
andM ortgageand wa:entitled to enforce THEM when theIossofpossession
occured...'';(fraudulentfactum)
581.        D efendantAU RORA,itsStanding ispredicated upon AURORA receiving

benetk ialinterestin both theN OTE and M ortgage9om M ER SX;

582.        M ERS* a separate corporation,athird party N om inee isw ithoutright, title or

interest,legally norin equity;see In Re Vgreas,396B.R.511(Bankr.C.D.Cal.2008).
                                          -




See also M orteaee Elec.R ez.Svs.v.N ebraska D ept.of Bankinm 270 N eb.529.

583.        D efendantAURORA in aletterdated O ctober19th2010 inform s

Petitioner,M syourm ortgageloan servicer...''see çtExhibitN ''A URORA LOAN

SERVICES delivered by U .S.PostalService by Certified M ail;

584.        DefendantAURORA October19tb2010 (sameletterasabove)informs
Petitioner,underthe heading IM PO R TA N T N O TICE; M urora Loan Services is a debt

collector.AuroraLoan Servicesisattempting to collectadebtandany inform ation
obtained wlllbeusedforthatpurpose.''(Pg 4 of5,2ndpar.)




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585.         Prem isesC onsidered isJudicialEstoppelin Case N O .09-CA -017057,

perjury by inconsistentstatement.
586.         Therefore a question arises as to w here doesD efendantA U R O R A find the

capacity to M odify Petitioner'sM ortgage-Loan,orotherssim ilarly sim ated,as

A UR O R A isa Servicer;furtherm ore,

587.         D efendantAU RORA to take any action otherthan thatw hich is

specifically authorized ofa Servicer,orthe nzles governing a Third-party-D ebt-

Collectorisan ultra virusact,m adein bad faith;furthermore,

588.         D efendantAUROR A isw ithoutactualintentorcapacity to M odify

Petitioner's M ortgage-Loan,orotherA m ericans sim ilarly situated,butA U R O R A has

affirm atively offered to do so for a price;

589.         Loan-M odification is analogousto N ovation,additions to,orm odification

ofan existing agreem entand provisionsfound therein;

590.         DefendantAUROR A isactually soliciting Petitionerin orderto Contract

anew ,as A UR O R A lacks the legalcapacity to M odify Petitioner'sM ortgage-Loan;

591.         GH ere'show itworks:eewillfrstdetermine#'
                                                     .y@lzareeligible...''The
Servicer,thisThird-party-D ebt-c ollectorA U R OR A isgoing to m ake a determ ination

on eligibility,butcan notorwillnotprove itsClaim upon form alrequest,underTitle

15 j 1692etseq.,orunderFloridaConsumerCollectionPracticesAct,559.55etseq;




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592.         D efendantA IJR OM     as servicer w ants updated details ofM aker's

financialcondition,to decipherifitiscostaffectiveto sueforadetk iencyjudgment
afterM aker's H om e,is tm law fully or illegally taken;

593.         Prim ary reason fordocumentation isnotasM akerislead to believe,as

A UR O R A is m nking a determ ination ofqualifk ation for a tûloan m odification'';rather,

594.         D efendantAU ROM       w ould liketo know whereM aker'sbank accountis

so A U RO R A can attach it;and,

595.         D efendantAUROR A w ould liketo know whereM akerisem ployed;

596.         A UR O R A w ould like to see a recentpay stub,so A U R OR A can eventually

garnish M aker'spay-check.

597.         D efendantAUROR A isem ploying deceitto fraudulently induceM aker

into contracting,underthe pretextofM ortgage-Loan M odification;as,

598.         A U RO R A holdsneitherlaw ful,legalnor equitable interestin either

Petitioner'sNOTE orM ortgageto m odify,nordoesAU RORA hold lawful,legalor

equitable interestin the debtofotherssim ilarly situated,ergo,can notm odify the debt;

599.         this offerofM ortgage-Loan M oditication w as know n to be a false offer at

the tim ethisofferwasm ade,witnessed in partby said com m unication m aking said

offerism ade anonym ously,butdoesdisplay the logo ofAURORA;seettExhibitN ;''

furtherm ore,

600.         TRU ST AGREEM EN T therein w e find thefollowing passage;



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       TheM asterServicershallrepresentandprotecttheinterestsoftheFr> /Fund
       in the sam e m anneras itprotects its own lnterests in m ortgage loans fa its own
       porlfolioin any r&f-,proceeding orlitigation regarding aM ortgageLoan and
       shallnotmakeorknowingy permitany Servicertom akeany vo##zcl/f/z,,
       waiveroram endmentofany term ofanyM ortgageLoan thatwouldcausean
       AdverseREM IC Event.(page140 TRUST AGREEM ENT)
601.         TRUST AGREEM EN T callsforaw ritten opinion from Counselpriorto any

moditk ation oram endm entto any M ortgage-Loan held by thisREM IC;forgood reason,

602.         in order forLEYIM A N X S TR U ST M O R TG A GE PA SS-TH R O U G H

CERTIFICATES,SERIES 2006-11to qualify foritsREM IC statuscannotown neither

legalnorequitable interestin theM ortgage-Loansitholds;seeI.R.C.860;

603.         C ounselknow s a11legaland benetk ialinterestin Petitioner'sM ortgage-

Loan wastransferredtotheTrust-certificate-llolderlslbyandthroughtheDTC,
pursuantto the TRU ST A G R EEM EN T,rendering the Trusteffectively assetfree;

604.         LEHM AN X S TRU ST M ORTGAGE PA SS-THROUGH CERTIFICATES,

SERIES 2006-11securitized poolsofM ortgage-Loansm ake itim possible forAUROR A,

oranypersonto negotiateaM ortgageLoan modifcation.SeeçtExhibitQ.''
605.         D efendant,occupantoftheO ffce ofCEO and PRESIDEN T ofAURORA

know s Petitioner'sN O TE held by this REM IC,LEIIM AN X S TR U ST M O R TG A G E

PA SS-THROU GH CERTIFICATES,SERIES 2006-11 can notbe modified by

AURORA,orany person;altem atively,

606.         REM IC,LEHM AN X S TRU ST M ORTGAGE PA SS-THR OUGH

CERTIFICA TES,SERIES 2006-11no longerexists,asm any Trustsw eredissolved


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      afterpayoutsfrom creditdefaultswaps,or/and aûeraccepting TARP funds, w hereby

      theactualinvestorts)havebeenmadewholeand are long gone.
      607.         DefendantAURORA knowing these aforem entioned allegationsisfact,

      AURORA isofferingtomodifyPetitioner's(existing)M ortgage-laoan andthoseof
      others sim ilarly situated,is an offerm ade in bad faith.

      608.         D efendantAU ROR A'Sbehaviorand actionsdem onstrate apropensity which

      constitutestmfairand deceptive tradepractices,AURORA efal.,isusing itsSuperior-

      Know ledgeto take advantage ofM aker'signoranceconcem ing the ruleswhich com pose

      the financialm atrix found within the M ortgage-Loan negotiation,executed by deceptive

      m eans,by studied concealm entand m isrepresentation in orderto permanently deprive

      Petitionerofproperty,and deprive otherAm ericansoftheirproperty.


                                     PM YER FO R RELIEF


W H EREFO RE,based on the foregoing,Petitionerrespectfully requestsreliefasfollow s;

      609.        A Declaratory Judgm entGnding herein,DefendantG RSCORP and

     M ERS* isasingle employer, 20C.F.R.j639.3(a)(2)asthefollowingthreshold ismet,
     a)there isacommon ownership interest;
     b)both DefendantsM ERSCORP and M ERS* share com m on D irectors, orOfficers;

     c)thereisfound aunity ofpersonnelpoliciesemanatingfrom acommon source;
     d)thereisadependency ofoperations;and,
     e)thereisfound adefacto exerciseofcontrol.
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610.         A D eclaratory Judgmenttinding the Assir m ent,pup orting to assign

LEHM AN BRO THERS BANK FSB 'Sbenefcialinterestin Petitioner'sN OTE, as

m ore fully described in tçExhibitA ''attached thereto,isineffective;because,

a)DefendantsLEHM AN BROTHERS BANK FSB orM ERS*hold nobeneficial
interestin Petitioner'sdebtto transferatany tim e relevant;or

b)Theassignmentby M ERS*ofPetitioner'sM ortgagewithoutnegotiation forthe
underlying Prom issory-N o W is a nullity.37 Fla.Jur.2nd,M ortgages,Section 511.

Seee.g.,Sobelv.M utualDvvelopment.Inc..313 So.2d 77 (Fla.1stDCA 1975).
Vancev.Fields,172 So.2d 613 (FIa.1stDCA 1965);or,
c)DefendantLEHM AN BROTHERS BANK FSB GledforBanknlptcy protection
shortly afterthedebtwasallegedly negotiated,isaFraudulentConveyance, or

FraudulentTransfer,asLEHM AN BROTHERS BANK FSB w asinsolventbut

continuing in operation,assuch said negotiation isvoid ab initio'
                                                                ,or,

d)AURORA acquiredPetitioner'sNOTE forTen ($10.00)from M Eltsfthereby
AUROR A isnotabona GdeptlrchaserasAUROR A did notpay equivalentvalue for

the debtto the Principal;or,

e) M FR S*cannotse11thatwhich M ERS* doesnotOwn;M nomineeoftheownerof

thenoteand mortgagemay noteffecffvey assign thenoteand mortgagetoanother
forwantofan ownership interestin saidnoteand mortgageby thenominee.''
LasalleBank Nat.Ass'n v.Lgmv,824N.Y.S.Zd 769,2006W L 2251721(Sup.2006);


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9 DefendantsAUROM orLEHM AN BROTHERSBANK FSB violated 15U.S.C.
51641by failingto NoticePetitionermstoachangeofCreditorwithin thirty (30)days
ofsuch an event.

611.         Declaratory Judgm entfinding theA ssignm ent,pum orting to assign

LE         BROTHERS BAN K FSB 'Sbeneficialinterestin Petitioner'sN OTE, as

m ore fully described in tçExhibitH ,''isineffective,because,

a)DefendantsLEHM AN BROTHERS BANK FSB orM ERS* holdnobeneficial
interestin Petitioner'sdebtto transferatany tim erelevant;or,

b)Assignmentby M ERS*ofPetitioner'sM ortgagewithoutnegotiation fortheunderlying
Prom issory-N o 'rE is a nullity;or,

c)DefendantLEHM AN BROTHERS BANK FSB isunderBankruptcy protection
during thetim ethedebtw asnegotiated,isaFraudulentConveyance, orFraudulent

Transfer,said transferisvoid;or,

d)DefendantAURORA acquiredPetitioner'sNOTE forTen ($10.00)from M ERS*
thereby AURORA isnotabona fidepurchaserasAUROR A did notpay equivalentvalue

forthedebtto the Principal;or,

e) M FR S*can notse11thatw hich M ERS*doesnotOw n;or,
9 DefendantM ERS*etal.,allegedlyalready transferredPetitioner'sM ortgage-No'rE on or
beforeJune 11th2009, could notthen again transferthe sam e debton Septem ber24th2009;




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 g)DefendantsAUROM orLEIIMAN BROTHERSBANK FSB violated 15U.S.C.
 j1641byfailingtoNoticePetitionerastoachangeofCreditorwithin thirty (30)days
of such an event.

612.         D eclaratory Judgm entfinding AU RORA,third party debtcollector,lacks

the capacity to sustain an A ction againstPetitionerin referenceto a consum erdebtprior

to Validating saiddebtpursuantto 15U.S.C.j1692g oncerequested todo so in writing,
saidrequestwaspre-foreclosure(lisPendensj;seeSPEARSvsBRENNAN (2001)181.




l
8lBrennan(Petitionercolleetion agency attorney)violated 15U.S.C.j 1692g(b)whenhe
obtained adefaultjudgmentagainstSpears(defendant)afterSpearshad notœ   ' edBrennanin
w riting thatthedebtwasbeing dksputed and beforeBrennan had m ailed verm cation ofthedebt
to Spears.


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                                     C O U N T 1.
                          FR AU D U LE N T C O N V ER SIO N




613.        Petitionerre-allegesand afsrm seach and every preceding paragraph ofthis

Com plaintand incop orate sam ehere asifalleged anew .



614.        DefendantLEHM AN BROTHERS BAN K FSB,priorto itsBankruptcy,

adm itted by tacitacquiescence,itacquired Petitioner's N O TE,prom ise to pay,w ithout

investing any ofitsow n m oney,orany ofitsdepositor'sm oney,ratheracquired a

Secured-lnterestin Petitioner'sReal-property by FraudulentConversion;



615.        D efendantLEIIM AN BROTHERS BAN K FSB deposited M aker's

PromissorpNo'rE into aTransaction-Account,see 12U.S.C.j1813(1)41);


616.        Transaction-Accountiscreated by asurrogate in the nam e ofM aker,using

M aker'sLim ited-power-of-Attom ey,acquired underpretextatClosing;



617.        Transaction-A ccountis created in M aker's nam e,w ithoutM aker's

know ledge orconsent;




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 618.        DepositofM aker'sN OTE into said Transaction-Accotmt, created m oney-of-

account(credit-money,orcheck-book-money controlled by LEHM AN BROTHERS BANK
FSB);thereaher,
619.         DefendantLEIIM AN BROTHERS BAN K FSB tendered a DraA, or Bank-

C heck draw n from M aker's Transaction-A ccount,to theoretically discharge Plthe debt

owed to the SellerofDonor'shome;

620.         D efendantLEHM AN BROTHERS BAN K FSB tenderofsaid Draft, or

Bnnk-check did do so in itsown nam e,foritsown benefh;how ever,

621.         On the Closing date,Septem ber29th2006 afterLEHM AN BROTHERS

BANK FSB deposited M aker'sN OTE into said Transaction-Account, depositsheld by

LEHM AN BROTHERS BANK FSB increased by asum equalto the face value of

M aker'sNO TE;

622.         on thatsam e Closing date,afterLEHM AN BROTHERS BA NK FSB

deposited M aker'sNOTE into said Transaction-A ccount, the liabilitiesheld on the

Books-and-RecordsofLEHM AN BRO THERS BAN K FSB also increased by theface

value ofM aker'sNO TE;



l Borrow erpaying eayh and evea m onth a sum certain to theLenderincreasesthe Public
Debt.Thedebt-m oney l-lcreated when itwasborrow ed isnotelim inated upon paym ent. M aker
can notpay a debtwith anotherdebt,you can only add to said debt.Discharging thedebtisthe
only way to keep thesystem in a stateofequilibrium ;seeH JR 192 June5tb1933. orPublieLaw
73-1:.



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623.        on thatsam e Closing date,atthe end ofthe day Reservesheld by LEHM AN

BROTHERS BAN K FSB are un-changed by thisM ortgage-Loan transaction.


624.        DefendantLEHM AN BROTHERS BANK FSB converted M aker'sN OTE,

into M oney-of-Accountw ith a few key-strokeson a computer;crgo,

625.        D efendantLEHM AN BRO THERS BAN K FSB attheend oftheday isin

exactly the sam e snancialcondition asthe beginning oftheday;except,

626.        D efendantLEH M AN BR O TH ER S BA N K FSB ,its Successor, orA ssignee

thereofhas acquired a prom ise to pay from M aker,appearing as a new asseton the

Books-and-RecordsofLEHM AN BROTHERS BANK FSB,itsSuccessor, orAssignee

thereof'
       ,how ever,

627.        underGAAP there m ustbean equaland balancing offsetto thisnew asset/

liability now appearing on LEHM AN BROTX RS BANK FSB 'SBooks-and-Records,

which isrevealed to the1RS on Form 1099-OlD ,Originallssue Discount, identifying the

sourceofthemoney (Bnnk'sLiability),segregatingthetaxableinterest,astheprincipal
istoberetum edtothesource(Creditor);as,
628.        D efendantLEFIM A N B RO THER S BA N K FSB is found to be the debtoron

1RS Form 1099-OlD,with thatliability owedto theDonor(Creditor).
629.       D efendantLEHM AN BROTHERS BAN K FSB intentionally did notsend

Donoracopy ofthe 1099-O1D thusconcealing the source ofthism oney,which

LEHM AN BROTIIERS BAN K FSB used to seize Donor'sim m ovable property;


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630.          DefendantLEYIM AN BROTHERS BAN K FSB intentionally did notsend

D onora copy ofthe 1099-OlD which w ould alertD onorto fundsescrow ed and

recoverable,howeverifnotclaimedisdeemedabandonedafterthree(3)years;thereafter,
631.        Escrowed fundsisconsequently claim ed by the debtorLEHM AN

BROTHERS BAN K FSB,itsSuccessor,orA ssigneethereof;how ever,

632.        Donorisneverinform ed theNO TE executed atClosing created the credit-

m oney,orM oney-of-Accotmtwhich wasused to seizetheimm ovableproperty, this

m aterialfactw asconcealed,by intentionalom ission,isa FraudulentConversion.

633.        FederalReserve Bank ofDallaspublication M ON EY AN D BANKING ,

page 11,explainsthatwhen banksgrantloans,they createnew m oney.The new m oney is

createdbecauseanew Gloan becomesa deposit,justlikeapaycheck doesw''
       634.         FederalR eserve Bnnk ofD allasw eb-site explains itthis w ay;
                     hdp://dallasfed.orFeducate/eveaday/ee .html

                             H ow Banu CreateM oney
              Banksactually create m oney when they lend it.Here'show it
              w orks:M ostofa bank'sloansarem ade to itsown customers
              andaredepositedintheircheckinq accounts.Becausetheloan
                  becomesanew deposit,justllkeapaycheck does...
            M ODERN M ONEY W CHAM CS,pagetwo(2)reads,in part;aln the
United States neitherp aper currency nor deposits have value as com m odities.

Intrinsically,adollarbillisjustapieceofpaper,dqpositsmerelybook entries.''
bottom ofpage6,andtop ofpage7states,aWhatthey Ibanksldo when they make
loansf: to acceptprtl- fssoa notesin e-xc/laafeforcredits//1e# m ake to the
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     borrowers'transaction accounts.Loans(assets)and deposits(liabilities)both rise

     by...J/Aeamountofthe fl/la'
                               / ''aReservesareun-changedby theIoan transactions.
     Butthedepositcreditsconstitutezlew additionstothetotaldepositsof thebanking
     systen '' fEmphasisaddedforclarity.j Truecopy ofthefrontpageofM ODERN
     M ONEY M ECHAM CS,pagestwo(2),six(6)and seven (7)composeçtExhibitL''
     hereto attached and incom orated herein by reference, see also AftidavitofW alkerTodd

     tçExhibitC''and the CreditRiverDecision;


W H EREFO RE,PREM ISES CO NSIDER ED;PetitionerdirectsthisCourtforentry of

     judgmentagainstLEHM AN BROTHERS BANK FSB,orLEHM AN BROTHERS
     HOLDIN GS IN C,forFraudulentConversion,whereby Petitioner'sNOTE orthose

     N OTESofotherAm ericanssim ilarly sim ated,isused sam easm oney forthe benefitof

     LEHM AN BROTX RS BAN K FSB orLEHM AN BROTHERS HOLD ING S INC

     withoutjustcompensation,donewithoutdisclosureofal1thetrue factsconcem ing the
     negotiation,while in possession ofSuperior-c owledgetook advantage ofM aker's

     ignoranceofthe financialm atrix involved in said negotiation;assuch award Borrow er

    return oftheProm issorp N oTE,or/and aw ard Borrowercompensatory dam ages,

    generaldam ages,or/and punitive dam ages;OrderAURORA to return al1the rent

    paym entscollected to D onor,orHeirofthe estate,with costsand fees, in an am ount

    Trieroffactdeemsisjustand fair,determined atTrial.



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                                    CO UNT I1.
                                IN TR IN SIC FR A U D

635.        Petitioner re-alleges and aftirm s each and every preceding parav aph ofthis

Complaintand incop orate sam ehereasifalleged anew .


636.        ln CmseN O.07-80998-C1V-RY SK AM P /V ITUNAC,IN 'IRIE UM TES

STA TES D ISTR ICT CO U R T FO R 'FlIE SO U THER N D ISTRICT O F FLO R ID A ,

therein A U RO R A w as a co-D efendant;


637.        TheINTERNAL REVENUE SERVICE (ççIRS'')filed anAction in rem to
forecloseonPetitioner'sreal-estatetosatisfy adebt,joinedAURORA asan indispensable
party(in error);

638.        lR S A ction com m enced O ctober22nda()()p;


639.        DefendantAURORA instead ofinform ing theIRS itm ade an errorin

joiningAURORA thereaûersubstituting theReal-partp in-lnterest,AIJRORA acted as
ifitisthe Real-partp in-lnterest,filed a Notice ofAppearance assuch;


640.        D efendantA U RO R A know ing itlacked Standing fabricated an untim ely
colorable A ssignm ent, executed July 9th2x g;


641.        July 9th2008isalmosttwo(2)yearsaftertheREM IC Closing-Date.

642.


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643.         DefendantAurorarecorded said Assignm entw ith theClerk ofthe Courtas

primafasciaevidence,to show Standing orto show aninterestinPetitioner'sproperty
comm itted an actoflntrinsic Fraud,did so knowingly, orshould haveknown;as,


644.         M ERS'alleged Certifying OfficerJOANN REm knew , or should have

known said A ssignm entlacked a legalfoundation;considering,


645.         DefendantAURORA severally with employeeJOANN M m jointlyas
ServicerofPetitioner'saccountcollecttheM onthly-M ortgage-paym entfrom M aker

thereafterforward sam e to som eone otherthan LEIIM AN BROTIIERS BANK FSB       .




646.         DefendantAURORA isaparty to the SERVICING AGREEW N T, has

superiorknowledge,knows,orshouldknow :645istrue.

647.        A ssignorLEHM AN BROTX RS BAN K FSB negotiated the NOTE

setoversam eto LEFIM AN BROTHERS HOLD IN GS IN C,did so in the year2006;


648.        1F JOANN ItElN held properauthority from M ERSX to Assign, did not

properly execute said A ssignment,as,in part,did notuse M ERS'Com orate Seal,

m aking the alleged negotiation infirm ,and questionable;and,




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649.         Assignoristhe OriginalLenderofpublic record butAU ROR A know s

Assignorisnotlegally theproperparty Beneficiary pursuantto the Chain-of-Title

found in the POOLING M '
                       D SERVICING AGREEW N T,ofw hich AU ROR A isa

party thereto possess Superior-K now ledge;and,


650.        B ogus A ssignm entw as subsequently recorded,as a public record June 11th

2009,lntrinsicFraud,by Uttering;aAer,


651.        A lleged A ssignorLEH M AN BROTHER S BANK FSB filed for

B anknlptcy protection on Septem ber 15tb2008, alm osttw o years aAerPetitioner Closed

on thereal-estate in question,and two m onthsaAerAUROR A executed thisfraudulent

A ssignm ent'
            ,w hich,


652.         A IJR OR A knew its fabricated A ssignm entw as a fraudulentA ssignm ent

atthetim e said Assignm entw asexecuted,orshould have known;supra.


653.        D efendant,occupantofthe O ftk e ofC EO and PR ESID EN T ofA U R O R A

knew ,orshould haveknow n LEHM AN BROTHERS BAN K FSB held neitherright,title

norinterestin Petitioner'sdebtJuly 91 2008;see Special-lndorsem entfound on copy ofa

copy ofthe N O TE in question,recorded by A U R O R A w ith the C lerk ofthe Courtas its

Exhibitin CaseN O .09-017057;




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 654.        Special-lndorsem entfound on the copy ofacopy ofthisNOTE indicate

 LEHM AN BROTHERS HOLDING S INC,which filed forBankruptcy protection along

 w ith LEH M AN BROTHERS BANK FSB,isthe lastknow n H older/Ownerofthe debt.


 655.        DefendantJOANN REIN in the capacity ofVice Presidentknow sthe

M ortgagefollowstheNOTE,Carpqnterv.Lonzan,83U.S.271 (1827);therefore,

656.         DefendantJOAN N REm consciously and intentionally included

Petitioner'sNOTE within the CORPOR ATE A SSIGN W NT OF M ORTGA GE,

knowing withouttheNOTE theAssignmentofjusttheM ortgagealoneisanullity;

657.         DefendantJOAN N RElN assigned both M ortgage and N OTE w ithout

legalcapacity to do either,did do so constructively, knowing,orshould have known

thiswasan ultra Wr- act,donewithoutauthorization;as,


658.        DefendantM ERS* doesnotpossessaseparate written and recorded

conveyance9om theactualHolderoftheNOTE (albeitLEHM AN BROTX RS
HOLDINGS IN C,orfrom LEHM AN XS TRU ST M ORTGAGE PASS-THROUGH

CERTIFICATES,SERIES 2006-11,orfrom the JudicialTrustee adm inistering the

estatesl;




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659.         D efendantM ER S* doesnotpossessan actualseparate w ritten and

recorded Pow er-of-A ttom ey setoverto < R S* priorto M ERS* m aking said

conveyance,assuch said conveyancefrom M ERS* isw ithoutproper authority, ergo a

void act;furtherm ore,


660.        A ssignm entofa debtas a m atteroflaw is ineffective;as,


661.        thetransferofadebtisnotan adm inistrative act;and,


662.        said Assignm entwasfabricated strictly forpurpose oflitigation,to

misdirecttheCourt;infra,

663.        Defendant,occupantofthe Offce ofCEO and PRESIDENT ofA UROM

knows,orshould have known the Assignm entexecuted by itsemployeeJOANN RElN

is a FraudulentConveyance,orFraudulentTransfer,as A ssignorLEHM AN

BROTHERS BANK FSB isunderBanknzptcy protection,j726.105(2)(i)Fla.Stat.;

664.        AURORA recorded said Assignmentw ith the Clerk ofthe Courtw ith the

expressed intentto show an lnterestin Petitioner'sproperty,asAURORA hasdone in

m any otherunrelated foreclosure cases,butwhich are sim ilarin nature;whereby,


665.        AUROR A fabricatespresumptiveevidence,in theForm ofan Assignm ent,

and then recordssaid colorable Assignm ent,knowing said A ssigmnentlacksalegal

foundation,resultsin an act,oractsoflntrinsic Fraud;furtherm ore,


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      666.        AURO R A iscom m itting,or hascom m itted an A ct,orActsofIntrinsic

      Fraud in each Fored osure A ction w herein LEH M A N B R O TH ER S BA N K FSB is

     theO riginalLender,AURO R A isServicer,and thereafterAIJR OR A com m encesa

     Fored osure A ction in its ow n nam e for its ow n benent,appears as C reditor,

     PlaintifforM ortgagee ofrecord,after Septem ber 15th2008.

     667.         Petitioner im plicatesLA SM LE B AN K N A TIO N M   A SSO CIA TIO N and

     U .S.BA N CO R P as TRU STEE,successorin interestto LA SA LLE B AN K N A TIO N A L

     A SSO CIA TION forturning ablind eye in tacitProcuration, w hen there isa duty to

     speak.


W H ER EFOR E,PR EM ISES CO NSID ERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOffk eofCEO andPRESIDENT
     OfAUROR A,JOAN N lkEm , W RSCORP,M ERS*, LEHM AN BROTHERS BAN K

     FSB,LELIM AN BROTIIERS HO LDINGS INC,LA SALLE BAN K NA TIONM

     A SSOCIATION ,U .S.BAN CORP asTRUSTEE,successorin interestto LA SALLE

     BANK NATIONM ASSOClAT1ON jointly,orseverally forIntrinsicFraud,Fraud
     Upon the Courtin CaseN O .07-80998;finding in the Affrm ative, in wholeorparq

     disgorgetheseD efendant'sofa11ill-gotten-gain w hereby AURORA hastaken property

     from Borrow er,orisattempting to takeproperty from Borrowerevidenced by an

     A SSignTnentfrom M ERS* asN om inee forLEHM AN BRO THERS BANK FSB after

     Septem ber 15th2008 and up to ayearprior;award BorrowertheN OTE in treble, or/

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and award Borrow eractualdam ages,com pensatory dam ages, generaldam ages,or/and

punitive damages;OrderAUROR A to return a11the rentpaym entscollected to Donor,

orHeiroftheestate,with costsand fees,in anamountTrieroffactdeemsisjustand
fair,determ ined atTrial.


                                       C O U N T 111.
                                INTW NSIC FR AUD



668.        Petitionerre-allegesand affirm seach and every preceding pam graph of

thisCom plaintand incom orate sam ehere asifalleged anew .


669.        Petitionerherein requested in Discovery and received in CaseN O . 07-

80998 aV erifed m TERROGA TORY undersealfrom AUROR A which w asrecorded

with theClerk ofthatCourt.


670.        Affiantand D efendantherein LAUR A M CCAN N,assisted by Defendant

CYNTIIIA W ALLACE,a/k/a CIN DY W ALLACE, testified D ecem ber 12th2008, in

Part;


(a).        testified AURORA isthe NOTE-Holder;

(b).        testiGed AU RORA isin possession ofthe genuineN ote, containing the

once w etink signature ofPetitioner'
                                   ,




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(c).         testifed aAuroraistheassigneeofthemortgage,pursuantto the
CorporateAssignmentofMortgageattachedAere/o.9'SeeiçExhibitA''titled
AURORA LOAN SERVICES INTERROGATORY Answ ers;

671.        CORPOM TE ASSIGNG N I-OF M ORTGAGE,attached to ççExhibitA''

statesin parq Gw.M ssignorhereby assigns unto the above-nam edAssignee,thesald

M ortgagetogetherwith the Note...''ççtogetherwith theN O TE''arew ordsofm aterial

signitk ance intentionally om itted from the INTERRO GATORY Answ er;furtherm ore,


672.        Gtogetherw ith the NO TE''withoutexplanation asto where,when orwho

M ER S* acquired Petitioner'sN OTE from , as M ER S* isnota party to Petitioner's

N O TE and the record is barren ofany representation thatM ER S* had any authority to

take any action with respectto Petitioner'sNOTE.


673.        Petitionerherein butDefendantin CaseNO .07-80998,Requestfor

Production asked to seethe genuineN OTE;


674.        aftersom e Discovery,and som eArgum ent,AUROM paid the lRS One-

Hundred-and-Fihy-Thousand ($150,000.00),thereafterwasdroppedasaDefendantin
thatcase,withoutadm itting to any wrong doing,did notproducethegenuineN OTE,

norproduced a copy ofthe alleged NOTE in itspossession;because,


675.        Presum ptively the IRS discovered D efendantA U R O R A w asnotlegally

theA ssignee ofPetitioner'sN OTE,norwasAURORA theReal-partp in-lnterest;and,

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     676.         Presum ptively the lRS discovered D efendantA U RO R A w asnotatany

     tim e relevantin possession ofPetitioner'sgenuineN OTE;


     677.         LAUM     M CCAN N assisted by DefendantCYN THIA W M LACE,a/k/a

     CINDY W ALLACE committed an actofperjury,bytestifyingfalsely,statements
     know n to be false atthe tim e said statem ents w ere m ade,orshould have know n sam e.


W H EREFO RE,PR EM ISES CO N SIDERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOfficeofCEO andPRESIDENT
     ofAURORA,LAURA M CCAN N,CYN THIA W M LACE,a/k/a CIN DY W ALLA CE,

     G R SC 0 % ,M ER S*,LEHM AN B RO TX R S BA N K FSB , LEH M A N BR O TH ER S

     H O LD IN G S IN C ,LA SA LLE BA N K N A TIO N M A SSO C IA TION ,U .S.B AN C O RP

     asTRU STEE,successorin interestto LA SA LLE B AN K N A TION M           A SSO CIA TIO N

     jointly,orseverally forIntrinsicFraud,FraudUpontheCourtin CaseNO.07-80998;
     finding in theAffirmative,in whole orpart,disgorgethese Defendant'sofa11ill-gotten-

     gain w hereby A U R O R A hastaken property from a B orrow er,or is attem pting to take

     property from Borrow erevidenced by an A ssignmentfrom M ERS* asN om inee for

     LEHM AN BR O THER S BA N K FSB afterSeptem ber 15th2008 and up to a yearprior;

     award Borrow erface value oftheN OTE in treble,or/and award Borrow eractual

     dam ages,com pensatory dam ages,generaldam ages,or/and punitive dam ages;Order

     A U R O R A to return a11the rentpaym ents collected to D onor,orH eir ofthe estate,w ith

     costsandfees,inan amountTrieroffactdeemsisjustandfair,determinedatTrial.
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                                    C O U N T IV .
                               INTm NSIC FM UD

678.        Petitionerre-allegesand affirm seach and every preceding po graph of

thisComplaintand incop orate sam ehere asifalleged anew .


679.        CaseN O . 09-CA -017057,filed M ay 15'h2009,cotm 'r III,Atm oM ,as

Plaintiffthereinplead *6---action toenforcealost,destroyed orstolenpromissory note

andm ortgageunderFlm Stat# 673.3091.*%because,

680.        pursuantto section j90.953,FloridaStatutes,(2002),Florida'scodeof
evidence,the Plaintiffin am ortgage foreclosurem ustpresentthe originalProm issorp

NOTE asa duplicate ofa note isnotadm issible,orhave saidN OTE reestablished.


681.        Between December12th2008(INTERROGATORY ,ççExhibitA'')and
M ay 15th2009 D efendantA U R O R A w antsthe Courtto believe itlostthe genuine

NOTE andM ortgage,facevalueofSix-Hundred-and-Fit -Thousr d,($650,000.00),
knowing foreclosure litigation ison thehorizon;how ever,


682.        D efendantA U RO R A failed to reportthis lossto the Securitiesand

Exchange Com m ission,G eneralR ules and R egulations prom ulgated under the

SeeuritiesExchangeActof1934, Rule17f-1;RequirementsforReporting and
Inquiry with RespecttoM issing,Lokt,CountefeitorStolen Securities;assuch,



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683.        seeing AU RORA did notreporttheN OTE aslost,stolen orm issing to the

Secudtiesand Exchange Com m ission,ism ostlikely because AUROR A did notlose it.


684.        Thisissue ofa lostN OTE wasaddressed by Florida'sFourth District

CourtofAppealin State Strqd Bank and TrustCp.v.Lord.w herethe courtheld

thattherightto enforce alostinstrum entisnotproperly assigned whereneither

A ssigneenoritspredecessorin interestpossessed thenote and did nototherwise satisfy

therequirementsofsection j673.3091,Fla.Stat.,851So.2d790 (Fla.4th DCA 2003);

685.        ThepredecessorEntities in thiscase are LE         BROTHERS BANK

FSB,LEHM AN BROTHERS H OLDING INC and STRUCTURED ASSET

SECURITIES CO RPORATION are allin custodia Iegis,atal1tim esrelevantherein;


686.        B anknm tcy'sJudicialTrustee is presum ptively in possession ofLEI'
                                                                              IM A N

BROTHER S BANK FSB,LEHM AN BROTX RS HOLD W G INC and

STRU CTURED ASSET SECIJRITIES CORPORATION 'Sestateatalltim e relevant

and w ould be the predecessorin interest;how ever,


687.        D efendantA URORA ,M ay 15th2009,CaseNO . 09-CA -017057,CO U N T

1,paragraph 5;HThe'II/a/#./'IAt1RORAIownsandholdstheNoteandM ortgage''
(emphasisadded),isan ActoflntrinsicFraud,fraudulentfactum,in#ak




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688.        A U R OR A 's Com p1aint,M ay 15th2009, aversin COUNT 111, Hthe

PlaintW wasinpossession oftheNoteandM ortgageand wJ:entitled // enforce
THEM when theIossofpossession occurred''
689.        Petitionerfindstheavermentin !687 and!688,supra,to holdsomething
which ism issing,lostorstolen,incom prehensible;then,

690.        Assign (sel1)June 8th2009toAssignee(buyer)thesameM ortgage-No'rE
in which three weeksearlierAURORA alleged islost,stolen ordestroyed,did notthen

convey anything on thatdate,orbeforethatdate,thusisan illusionary negotiation;

691.        AURORA recorded said Assignm entwith the Clerk ofthe Court,asprim a

fascia evidenceto show interestin Petitioner'sproperty,isan ActofIntrinsicFraud.

692.        M ISTY A .BA RN E S,Esquire,underthe supervision of a corrupt1aw 517:1

known asLAW OFFICE OF DA VID J.STERN,P.A .,re-presenting AUROM                LOAN

SERVICES LLC 'Sposition,knows,orshould have known,AURORA lacked Standing

on the dateofCom m encem ent,becauseAURORA subsequently A ssigned the debtto

itselfby fabricating the evidence the law required;


693.        A URORA intentionally m iss-inform ed the Courtitw asin possession of

thegenuineNO TE and M ortgage priorto filing suit,which subsequently wentm issing,

w asknow n to be a fraudulentfactum atthe tim e said statem entw asaccepted then re-

presented by theLAW OFFICE OF D AVID J.STERN ,P.A .




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W H EREFO RE,PREM ISES CON SIDERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOfficeofCEO and PRESIDENT
     ofAUROM ,G RSCORP,< RS*,M ISTY A . BARNES,Esquire,LAW OFFICE

     OF DAVID J.STERN,P.A.,jointly,orseverally forlntrinsicFraud,FraudUpon the
     Courtin Case NO .09-CA-017057;finding in theA ftirm ative, in whole orparq

     disgorgethese Defendant'sofallill-gotten-gain whereby AURORA hastaken property

     from Borrower,orisattem pting to take property from aBorrowerevidenced by an

    A ssignmentfrom M ERS*asNom inee forLEHM AN BROTHERS BANK FSB after

    Septem ber 15th2008 and up to a yearprior, award Borrow erthe facevalue ofthe

    N O TE in treble,or/and aw ard Borrow eractualdam ages, com pensatory dam ages,

    generaldam ages,or/and punitive dam ages;OrderA URORA to return allthe rent

    paym entscollected to Donor,orHeirofthe estate,with costsand fees, in an am ount

    Trieroffactdeem sisjustand fair,determined atTrial.


                                        CO UNT V.
                                   INTR INSIC FM UD

    694.        Petitionerre-allegesand affirm seach and every preceding paragraph of

    thisCom plaintand incorporate sam e here asifalleged anew   .




    695.        DefendantAUR OR A,by w ay ofitsemployeeTHEOD ORE SCHULTZ, a

    knOW n rObo-signer,executed a second colorable Assignm entJune 8th2009 allegedly



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 setoverPetitioner'sM ortgage and NO I'E fora second tim eto AURORA , for

AU RORA 'Sbenefit,withoutexplanation asto where thissecond NOTE wasacquired,
asM ERs* isnotaparty to Petitioner'sN ote and the record isbarren ofany

representation thatM ERS* had any authority to take any action with respectto a

M ortgage along w ith aphantom -N o-fE;See içExhibitH ,''A FTER ,


696.         AURORA onM ay 15th2009 pleadsto the Courtforçç. .. action to enforce
a Iost,destroyed orstolen prom issory note and m ortgage . . .. ''


athePlaintW wasinpossession oftheNoteandM ortgageand wasentitledto
enforceTHEM when thelossofpossession occurred''
697.         ltappears from checking the Clerk ofthe Court'srecord AURORA

averreditlosttheM ortgage-NoK onorbeforeM ay 15th2009 (lisPendens), but
beforethe legalform ality ofthesecond Assignm entoccurred, executed by

THEODORE SCHU LTZ on Jtm e 8th2009,recorded septem ber24th2009;however,

698.        the Actofrecording an Assignm entortransferwith the RegistrarofD eeds

is done constructively;as,

699.        Actofrecording an Assignm entisnottheactualtransferofproperty, but

ratheristhem em orialization oftheA ctafteractualdelivery and acceptancehmsalready

occurred in substance.




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     700.        A sa generalproposition,evidence ofa valid assignm ent,proofofpurchase

     ofthedebtorevidenceofan effective transferisrequired to prove thataparty validly

     holdstheN OTE and M ortgageitseeksto foreclose.SeeBookerv.Sarasota.Inc.,707

     So.2d 886,889(Fla.1stDCA 1998).
     701.        AURORA comesinto Courtclaim ing to be the ttownerand Holder''of

     Petitioner'sNOTE andM ortgageby fabricatinga(second)Assignmentin orderto show
     an interestin Petitioner'sproperty,oran otherAm erican sim ilarly situated,isan Act,or

     Actsoflntrinsic Fraud,done knowingly,intentionally w ith m alice offorethought;as,

     702.        Fabrication ofa second Assignm entexecuted June 8th2009 isaFreudian-

     A dm ission m ade by A U RO R A asto notactually ow ning Petitioner's debtJuly 9tb2008

     (dateofthefirstAssigmnent);and,
     703.        DefendantAURORA adm ittedly isnotin actualpossession ofthe

     M ortgage-N o 'rE M ay 15th2009,date of com m encem entin C ase N O . 09-CA -017057.

     704.        Petitionerim plicatesLA SALLE BAN K N ATIONAL A SSOCIA TION and

     U .S.BANCORP asTRUSTEE,successorin interestto LASM LE BANK NA TIONM

     A SSO C IA TION forturning a blind eye in tacitProcuration,w hen ithad a duty to speak


W H EREFO RE,PREM ISES CO NSIDER ED;PetitionerdirectsthisCourtforentry of

    judgmentagainstAURORA,andtheoccupantoftheOfsceofCEO andPRESIDENT
     ofA U R O R A ,M ER SC O RP,M ER S*,THEOD ORE SCHU LTZ , LEHM AN

     BROTH ERS BANK FSB,LEHM A N BROTH ERS HOLDW GS W C,LASM LE

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BANK N ATION AL ASSOCIATION ,U .S.BAN CORP asTRU STEE,successorin

interesttoLASALLE BANK NATIONAL ASSOCIATION jointly,orseverally for
lntrinsicFraud,Fraud Upon the Courtin CaseN O.09-CA-017057;finding in the

Aftirm ative,in w holeorpart,disgorge these Defendant's ofal1ill-gotten-gain whereby

AUROM     hastaken property from Borrower,orisattem pting to take property from

Borrow erevidenced by an A ssignm entfrom M ER S* asN om inee forLEH M AN

BROTHERS BAN K FSB afterSeptem ber 15th2008 and up to a yearprior, include

Borrow erswho are sim ilarly situated;award Borrow erthe facevalue oftheN OTE in

treble,or/and award Bolw weractualdam ages,com pensatory dam ages, general

dam ages,or/and ptm itive dam ages;OrderAU RORA to retum a11the rentpaym ents

collected to D onor,orH eirofthe estate,w ith costsand fees,in an am ountTrieroffact

deemsisjustand fair,determined atTrial.




                                    CO UN T V I.
                               INTR INSIC FR AUP


705.        Petitionerre-allegesand affirm seach and every preceding paragraph of

thisComplaintand incorporate snm ehere asifalleged anew .




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706.        D efendantAURORA com m enced a legalAction againstPetitionerM ay

ls* 20095case N O . 09-c A -017057,in its ow n nam e,for its ow n benefit,appearing as

the Real-partp in-lnterest,Holder-in-Due-course,precedentto an Assignm entof

Petitioner'sN OTE and M ortgage from M ERS* acting in the capacity asnom inee of

LEHM AN BR O TH ER S BA N K FSB ;how ever,


707.        D efendant,the occupantofthe Office ofCEO and PRESIDENT of

A U R O R A know s,as Servicerof said debt,the m onthly m ortgage-paym entreceived

from Petitioner,paid outby AUROM ,ispaid outto an Entity otherthan LEI'
                                                                      IM AN

BROTX RS BAN K FSB ;because,


708.        LEIIM AN BROTHERS BAN K FSB H oldsno legalnorequitable interest

in Petitioner'sM ortgage-N oW ,otherthan in nam e only;wherein fact,


709.        D efendant,the occupantofthe Office ofCEO and PRESID ENT of

AURORA know sitism erely the Servicerofthisalleged debtin question;see

com m unication dated M arch 24th2010,from KahrlW utscherLLP, tçExhibitl,''hereto

attached;wherein,


710.        K ahrlW utscherLLP identifesitselfasa 1aw Firm representing to

representD efendantA U R O R A ,ergo representing the occupantofthe O ffk e ofCEO

and PRESID EN T ofA U R O M ;




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711.           KahrlW utscherLLP disclosesin thiscomm unication,in parq the

follow ing;


               M urorahas:AeriqhttoenforcetheNoteevidencingthedebt,
                     and hasthertghttoreceivepaymentofthedebtfor
                          andon behalfoftheownero/â edebt-''
                       Gn enam eofthecurrentownerofthedebtis:
                         LE H M A N B R O TH E RS H OLD IN GS IN C
                     745SeventhAve.,fhFloor,New York,N Y 10019.''
          ''
           . ..
                  pleasenotethatAuroraisonly theservicerofthesubjectloan''


712.           AURORA freely admitsprivately,by w ay ofoneofitslegalrepresentatives

on M arch 24th 2010,A U R O R A is the Servicer, and thatitknow s the R eal-party-in-

lnterest(sic) isLEHM AN BROTHERSHOLDINGS INC,anon-party inCaseNO.09-
CA -017057;w hereby,

713.           Petitioner'sunderstanding asto the legaldelnition ofw hata ççrealparty in

interest''is is-

     a)thepartywiththelegalrightto bring suit,and

     b)apartywhoisnotseekingtoassertanotherparty'srights.seeW oodberrv,383
B.R.373 (Bankr.D.S.C.2008);
714.           Predicated onthepreceding paragraph,!713,AURORA admitsprivately as
to notbeing the properparty Plaintiffin Case NO .09-CA -017057;how ever,




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715.        A U R O R A hascontinued to pretend to be the Real-party-in-lnterestup tm til

the case w as conditionally D ism issed M arch 1St2012;furtherm ore,

716.        LEHM AN BROTHERS HOLDINGS INC istheEntity which exercises

controloverAURORA undertheTRU ST AGREEG N T,and SERVICING

A G REEM EN T,atalltim esrelevantherein;furtherm ore,

717.        AUROM w asaw holly owned subsidiary ofLEHM AN BROTHERS

BANK FSB,the child ofLEHM AN BROTHERS H OLDING S IN C.

718.        KahrlW utscherLLP,comm unication dated Septem ber 1St2010, see

çiExhibit0 ,''again confirm sLEIIM AN BROTIIERS HOLDING S lNC isthe alleged

ownerofPetitioner'sdebt;see Fina Supplv.Inc.v.A bilene Nat.Bank,726 S.W .2d

537,(198X ;whereby,
719.        AURORA knowingly and intentionally m iss-inform ed the cotlrtit

a)isthepartywith thelegalrightto bring suit,and
b)isnotseekingto assertanotherparty'srights,hasStanding toForeclose,isan actof
lntrinsic Fraud,done know ingly,orshould haveknown;furtherm ore,

720.        Petitionerim plicates LA SA LLE BA N K N A TION A L A SSO CIA TIO N and

U .S.BAN CORP asTRUSTEE,successorin interestto LASALLE BAN K N ATION M

ASSOCIATION fortum ing ablind eyein tacitProcuration,when ithad a duty to speak.




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W H EREFO RE,PREM ISES CON SIDERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAURORA,andtheoccupantoftheOfficeofCEO and PRESIDENT of
     AUROR A' NG RSCORP,NG RS*' TH EOD ORE SCH ULTZy LEH M A N BROTH ERS

     BANK FSB,LEHM AN BROTHERS HOLD ING S IN C , LASA LLE BAN K NATION M

     A SSOCIATION ,U .S.BAN CORP asTRU STEE,successorin interestto LA SALLE

     BANK NATIONAL ASSOClATlONjointly,orseverally forlnkinsicFraud,Fraud
    U pon the Courtin CaseN O.09-CA-017057;finding in theA ffrm ative, in w hole orpart,

    disgorge theseD efendant'sofallill-gotten-gain whereby AURORA hastaken property

    9om Borrower,orisattempting to takeproperty from Borrowerevidenced by an

    A SSig;Hrentfrom G RS* asN om inee forLEHM AN BROTHERS BANK FSB after

    Septem ber l5th2008 and up to ayearprior;award Borrowerthe face value oftheN OTE

    in treble,or/and award Borroweractualdam ages, com pensatory dam ages,general

    dam ages,or/and punitive dam ages;OrderAURORA to retum a11therentpaym ents

    collected to Donor,orHeirofthe estate,with costsand fees, in an am ountTrieroffact

    deemsisjustandfair,determinedatTrial.


                                      CO UNT VII.
                                   INTRIN SIC FR AUD


    721.        Petitionerre-allegesand affirm seach and every preceding paragraph of

    thisCom plaintand incom orate sam ehere msifalleged anew .


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722.         The occupantofO ftice ofCEO and PRESIDEN T ofAURORA knew , or

should haveknown the Assignm entexecuted by itsemployee,THEODOR SCHU LTZ

wearing aM ERS* hat,isa FraudulentConveyance done in Form only, orFraudulent

Transferdone in Form only,done aw hileA ssignorisunderBanknlptcy protection

j726.105(2)(i);assuch,
723.         FraudulentTransfer aw hile A ssignorisunderB ankruptcy protection is

view ed asC ontem ptagainstthe back-drop ofa B anknp tcy proceeding;but,

724.         on the other hand itreally never happened,considering A U R O R A 'Sclaim to

a lost,stolen ordeskoyed M ortgage-No TE,beforetheM ortgagew asAssigned, ergo the

NOTE could notbeconveyedtltme81 2009)ifitisknowntobemissing(M ay 15th

2009),and presumptivelytheOriginalNOTE wasneverinthehandsofAURORA;
725.        DefendantAURORA isan insider,in Privitywith Assignorj726.l05(2)(a);
726.        DefendantAURORA allegedlypaidM ERSOTen ($10.00)fortheNOTE,an
am ountfarfrom representing true m arketvalue,paid to som eoneothertha11the Principal;

727.        D efendantAURORA allegedly paid M ERS*Ten($10.00)fortheNOTE
donewithoutJudicialReview j726.105(1)(b);and
728.        DefendantAURORA allegedlypaidM ERS*Ten ($10.00)fortheNOTE,
M ERS* assigned the N O TE w ithoutlegalright, title,orinterestin theNOTE;

729.        DefendantAURORA al1egedlypaid M ERS*Ten ($10.00)fortheM ortgage
w hereby M ER S* assigned the M ortgage w ithoutPow er of-A ttom ey to do so;
                                                      -




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730.        DefendantAURORA isnotHolder-in-Due-courseasAURORA did notbuy

Petitioner'sdebtforvaluein good faith j726.105(1)(b);as,
731.        DefendantAURORA etat.,knew beforetheAssignmentwasexecuted

LEHM A N BR O TH ER S BA N K FSB did notow n the debt;

732.        DefendantAURO RA etal.,knew beforetheA ssignm entwasexecuted that

M ER S* did notown the debt.

733.        DefendantAUROM        knew beforetheAssignm entw asexecuted there was

antmcureddefault;see j673.3021(b)3,ergotaking itsubjecttoa11claimsanddefenses.
734.        PetitionermaintainstheExhibitAURORA holds,which AURORA averred

asbeing acopy ofPetitioner'sgenuineNOTE isaforgery;seej673.3021(1)(a);
735.        M ERS*etal., knowingly and intentionally Assigned Petitioner'salleged

debtw ithoutthe true Ow ner's know ledge,consent,or w ritten authorization,is Collateral

Fraud,done by M ERS*w ith the im puted knowledgeofM ERSCORP etal., asan

ongoing generally accepted daily businesspractice.

736.        D efendantA U R O R A com esinto Courtacting like the R eal-partp in-

lnterest,H older-in-Due Course,evidence in hand,a copy ofa copy ofaNO TE,w hich

readstop righthand corner;itIHE REB Y CER FIFY TH IS TO B E A TRU E Ar

EXACT COPY OF THE ORIGINAL''which containstwo pagesnumbered three(3),one
w ith Indorsem entand one without,isa forged docum ent,intended to trick the Courtinto

believing A U R O R A has Standing,w here there is none.



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737.         DefendantAUROR A know ing itlacked Standing on thedate of

com m encem entin C ase N O .09-CA -017057 fabricated an A ssignm entoutofw hole-

c10th,done w ith dolus againstthis Petitioner,and A U R O R A acts in a like m arm erw ith

otherAm ericanssim ilarly situated;how ever,

738.         also donewith dolusagainstthejusticesystem,asaFraud-upon-the-court,
doneknowingly,and isin partAURORA'Son-going com zptbusinessplan,acquire cheap

real-estateforpennieson thedollar(costoflitigation),potentiallydisplacingPetitioner
and otherssim ilarly situated,employing the Courtsystem to facilitatethisill-gotten-gain;

739.         which createsand presentsa substantialand specitk dangerto thepublic's

health,safety,orwelfare foroverninetypercent(90% )ofAmericansforced into
foreclosureby the ServicerAUROR A,who are eitherun-represented,under-represented,

orchoseto abandon theirproperty dueto AUROR A'SSuperior-c owledgeand funding,

ergo AUROR A and Banking type lnstitutionslikeLEHM AN BROTHERS BAN K FSB

are preying upon the w eak and tm -inform ed.

740.        AUR OR A is com m itting,or has com m itted an Ach or ActsofIntrinsic

Fraud in each Foreclosure Action w herein LEH M AN BR OTHERS BANK FSB is

theO riginalLender,AIJRO R A isServicer,and thereafterAURO R A com m enees a

Fored osure A etion in its ow n nam e for its ow n beneft,appears as C reditor,

Plaintiff or M ortgagee of record,after Septem ber 15tb2008.




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     741.        Petitionerim plicatesLA SM LE B AN K N A TION A L A SSO CIA TION and

     U .S.BAN CORP asTRU SW E,successorin interestto LA SALLE BAN K N ATION AL

     A SSO CIA TIO N forturning a blind eye in tacitProcuration,w hen ithas a duty to speak.


W H EREFO RE,PREM ISES CO NSIDER ED;PetitionerdirectsthisCourtforentry of

    judgmentagainstAURORA,andtheoccupantoftheOfficeofCEO andPRESIDENT
     ofA U RO R A , M ERSco ltp,M ERs*,TH EO D O RE SCH U LTZ ,LEHM AN

     BROTHERS BAN K FSB,LEH M A N BRO TH ERS H OLDW G S EQC,LA SALLE

     BAN K NA TIONAL A SSOCIATION ,U .S.BAN CORP asTRU STEE,successorin

     interestto LA SA LLE B AN K N A TION A L A SSO CIA TIO N ,M ISW A .BA RN ES,

     Esquire,andtheLAW OFFICE OF DAVID J.STERN,P.A.,jointly,orseverally for
     Intrinsic Fraud,Fraud U pon the Courtin C ase N O .09-CA -017057;tinding in the

    A f/rm ative,in w hole orpart,disgorge these D efendant'sof a11ill-gotten-gain w hereby

    AUROM      hastaken property from Borrow er,oris attem pting to take property from

    B orrowerevidenced by an A ssignm entfrom M ERS*asNom inee forLEHM AN

    BROTHERS BAN K FSB afterSeptem ber 15th2008 and up to ayearprior;including

    B orrow ers sim ilarly situated,aw ard Borrow erface value ofthe N O TE in treble,or/and

    aw ard B orrow er actualdam ages,com pensatory dam ages,genel'aldam ages,or /and

    punitive dam ages;O rderA U R O R A to return al1the rentpaym ents collected to D onor,

    orHeiroftheestate,with costsand fees,in an amountTrieroffactdeemsisjustand
    fair,determ ined atTrial.


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                            C O U N T V III.
                        JUDICIA L ESTO PPEL


742.        Petitionerre-allegesand afsrm seach and every preceding paragraph of

thisComplaintand incom orate sam ehereasifalleged anew .


743.        DefendantAURORA making anoffer(October19th2010),toM odify
Petitioner'sM ortgage-taoan asthe Servicerofthisalleged debton behalfofan

unidentified Principalwasdone AFTER,

744.        DefendantAURORA filed an Action (M ay 2009)inwhichto forecloseon
Petitioner'sproperty appearingastheReal-partpin-lnterestisPerjuryby Inconsistent
Statem ent,ergo JudicialEstoppelin CaseNO .09-CA-017057.

745.        AURORA'Sentire Action againstthisPetitionerin CaseN O.09-CA-

017057 ispredicated upon an illusionary conveyance from M ERS*, fabricated from

w hole-cloth forpurposes oflitigation,and to m isdirectthe C ourt;

746.        illusionary conveyance from M ER S* w as fabricated from w ho1e-cloth to

tricktheCourtintoactingupon alegal(sic)looking document,butfraudulentinnature,
executed underseal,deception doneknow ingly,intentionally,aspartofan ongoing

com zptbusiness practice,done w ith dolus,to achieve a desired outcom e,in part,to

illegallytipthescalesofjusticein favorofDefendantAURORA etal.;which,




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     747.        createsand presentsa substantialand specitk dangertothepublic'shealth,

     safety orwelfareforoverninetypercent(90% )ofAmericansforced into foreclosureby
     the ServicerAUROR A,w ho areeitherun-represented,under-represented,orchoseto

     abandon theirproperty dueto AUROR A'SSuperior-c owledge and funding, ergo

     AURORA and otherBanking InstitutionslikeLEIIM AN BROTHERS BAN K FSB are

     preying upon the w eak and un-inform ed.




W H EREFO RE,PREM ISES CON SIDER ED;PetitionerdirectsthisCourtforentry of

    judgmentagainstDefendantAURORA,andtheoccupantoftheOfticeofCEO and
     PRESIDENT ofAU RORA , G       RSCORP,M ERS*,jointly orseverally forIntrinsic
     Fraud,resulting in JudicialEstoppelin favorofPetitionerand al1Borrowerssim ilarly

     situated;Gnding in the Affirm ative,in whole orparq aw ard Borrowerfacevalue ofthe

    N OTE in treble,or/and aw ard Borrow eractualdam ages,com pensatory dam ages,

     generaldam ages,or/and punitive dam ages,OrderAU RORA to rettu'n a11therent

    paym entscollected to Donor,orHeiroftheestate,with costsand fees, in an am ount

    Trieroffactdeemsisjustandfair,determinedatTrial.
                                        C O U N T IX .
                                    IN TRIN SIC FR AUD

    748.        Petitionerre-allegesand affirms!563through and including!608ofthis
    Complaintand incom orate same here asifalleged anew.



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     749.        DefendantAUROR A m aking an offer, dated October 19th2010,to M odify

     Petitioner's M ortgage-Loan asthe Servicerofthis alleged debton behalfofan

     unidentitied Principalw asdone A FTER ,

     750.        D efendantA IJRO R A tiled an A ction M ay 2009 in w hich to foreclose on

     Petitioner'sproperty appearing astheReal-party-in-lnterestisPerjury by inconsistent
     statem ent,resulting in an ActofIntrinsicFraud upon the Courq againstPetitioner.


W H EREFO RE,PREM ISES CO NSD ERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstDefendantAURORA,andtheoccupantoftheOfficeofCEO and
     PR ESID EN T ofA U R O R A , W   RSCORP,M ERS*,jointly or severally forlntrinsic
     Fraud,resulting in Fraud upon the Courtdirected againstPetitioner;finding in the

     Affirm ative,in wholeorparq aw ard Petitionerface value oftheN OTE in keble,or/

     and aw ard Petitioneracm aldam ages,com pensatory dam ages,generaldam ages,or /and

     punitive dam ages,O rder A U R OR A to return a11the rentpaym ents collected to D onor,

     orHeiroftheestate,with costsand fees,in an amountTrieroffactdeemsisjustand
     fair,determined atTrial.


                                          CO UNT X.
                                          U T TER IN G


     751.        Petitionerre-allegesand affirm seach and every preceding paragraph of

     thisCom plaintand incop orate sam ehere asifalleged anew .


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752.         D efendantLEIIM AN BR O TH ER S BA N K FSB Gled for Bankruptcy

protection septem ber 15'b2008, insolventtw o m onthsaAerthis alleged debtw asfirst

Assigned,July 9th2008,forthesum ofTen($10.00),foravaluableassetworth sixty

fivethousandtimesTen($10.00),withoutliftingtheautomaticStay,isaFraudulent
Conveyance,orFraudulentTransfer,thus,said negotiation isvoid,ab initio,seeTitle

XLI ss. 726.101-776,112.

753.        Florida State Statute 726.101m ay be cited asiçuniform Fraudulent

Transfer A ct''

754.         Petitionerpointsto 726.106(1)Fla.Stat.,eachcondition precedentto a
snding ofFraudulentTransferispresentin CaseN O.07-80998-ClV-RY SKAM P /

V ITU N A C ;except,

755.        D efendantLEHM AN BROTHERS BANK FSB did not0% norpossess

thedocum entsalleged transferred orassigned;

756.         ASSOCIA TES LAND TITLE,INC handled the Closing docum entsfora

party yetto be discovered,butissom eone,orsom e entity otherthan LEHM AN

B R O TH ER S B AN K FSB ,consideling the ççsold forw ard contract,''supra;

157.         FraudulentTransferwasdone constructively,w ithoutsubstance;

758.         The Securitiesand Exchange Com m ission docum entsarticulate the

negotiation betw een the partiesfollow ing thislink below ,isa m atterofpublic record;




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     759.         hlp://-   .sec.gov/cgi-biA rowse-edgr ?companr
                  Lehm an+X S+Trust+200611& m atch=&clK=& filenum
                 =& state=&cou v -&slc=&ou eN exclude&Find=Find
                 +com panies& action=getcom pany




     760.        TransferofPetitioner'sdebtfrom LEHM AN BROTHERS BANK FSB

     setoverto AURORA isbutan illusionary negotiation fabricated from whole c10th,done

     forreason ofm isdirecting the Court;as,

     761.        Assignmentisused wsprimafascia evidencein ordertoshow interestin
     Petitioner'sproperty,which legally isregistered to anon-party;

     762.        AUROR A fabricated a docum entundersealwhich lacksalegal

     foundation,said docum entistitled CORPORATE A SSIGNM EN T OF M ORTGAGE,

     recorded same w ith theClerk ofthe Courtand thePublic'sRegistrarofDeeds   .




                 FRAU DULEN T A SSIGN NG N T OF M ORTGAGE
                 A fraudulentassignm entofm ortgage isan invalid assignm ent
                 thatw asprepared and/orexecuted by anaturalperson who
                 know ingly and w illfully created the docum entforuse in
                 com m erce with theknow ledgeand intention ofdeceiving or
                 defrauding thepublicorw ith willfuldisregard forthe truth
                 which can form the basisforim puted knowledge.




W H EREFOR E.PREM ISES CO N SID ERED;PetitionerdirectsthisCourtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOftk eofCEO andPRESIDENT


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OfA U R O R A ,M ER SO,M ER SCO RP , LEITM AN B RO M          R S B AN K FSB ,and

JOANN REIN jointly,orseverallyforUttering,withimputed knowledgeofthe
occupantofthe Oftk e ofCEO and PRESIDEN T ofAURORA,and w ith im puted

know ledgeofM ERSCORP;award BorrowerfacevalueoftheN OTE in treble,or/and

actualdam ages,com pensatory dam ages,generaldam ages,or/and ptm itive dam ages;

disgorge theseDefendant'sofa1lill-gotten-gain whereby AURORA hastaken property

from B orrow er,or is attem pting to do so againstB orrow ers sim ilarly situated,

evidenced by an A ssignm entfrom G RS*asNom inee forLEHM AN BROTHERS

BAN K FSB afterSeptem ber 15th2008 and up to ayearprior;OrderAIJROR A to return

a1lthe rentpaym ents collected to D onor,orH eir ofthe estate, w ith costsand fees,in an

amountTrieroffactdeemsisjustand fair,determined atTrial.


                                      CO UNT X l.
                                      U TTE R IN G



763.         Petitionerre-allegesand affirm seach and every preceding paragraph of

thisComplaintand incorporate sam e here asifalleged anew .

764.         DefendantLEFIM AN BROTX RS BANK FSB isunderBanknzptcy

protection msofSeptem ber 15th2008, insolventduring thetim ethissecond debtw as

al1egedly negotiated,June 8th 2009;




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     765.        DefendantAURORA paid (siclthesum ofTen ($10.00)foravaluable
     assetworth sixty tsve thousandtimesTen ($10.00),withoutliAingtheautomatic Stay,
     is a FraudulentConveyance,orFraudulentTransfer,thus said negotiation isvoid, ab

     initio.

     766.        Petitionerpointsto 726.106 (1)Fla.Stat.,each conditionprecedenttoa
     Gnding ofFraudulentTransferispresentin CaseNO .09-CA-017057;except,

     767.        DefendantLEHM AN BROTHERS BANK FSB did notown norpossess

     the docum entsalleged transferred orassigned;

     768.        FraudulentTransferw asdone in Form only,notin substance;

     769.        FraudulentAssignment/Transferisbutan illusion fabricated from whole

     c10th by AURO RA etal.,knew ,orshould have known,A ssignm entlacked a legal

     foundation,docum enttitled CORPOM TE A SSIGN M ENT OF M ORTGAGE         .




                FRAUD ULENT A SSIGNW N T OF M ORTGAGE;
                A fraudulentassignm entofm ortgageisan invalid assignm ent
                thatw asprepared and/orexecuted by anaturalperson who
                knowingly and w illfully created the docum entforuse in
                com m ercew ith the knowledge and intention ofdeceiving or
                defrauding the publicorw ith willfuldisregard forthe truth
                which can form the basisforim puted know ledge.


W H EREFOR E,PR EM ISES CO NSIDERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAURORA,andtheoccupantoftheOftkeofCEO andPRESIDENT
     OfA U R O R A ,W R SC O RP,M ER S*,LEHM A N BR O TH ER S BA N K FSB , and

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THEODORE SCHULTZ jointly orseverally forUtteringwith imputedknowledgeof
theoccupantofthe Oftk eofCEO and PRESID EU ofAUROR A,and with im puted

know ledgeofM ER SCORP;tinding in the Affrm ative,in wholeorpart,aw ard

Petitionerfacevalue oftheN OTE in treble,or/and actualdam ages,com pensatory

dam ages,generaldam ages,or/and punitive dam ages;disgorgetheseD efendant'sofal1

ill-gotten-gain w hereby A U R O R A hastaken property from Borrow er,oris attem pting

to takeproperty from Borrowerevidenced by an Assignm entfrom M ERS* asN om inee

forLEIIM AN BROTHERS BAN K FSB afterSeptember15tb2008 and up to ayear

prior,include Borrowerwho issim ilarly sim ated;OrderAUROR A to return allthe rent

paym ents collected to D onor,orH eir ofthe estate,w ith costs and fees,in an am ount

Trieroffactdeemsisjustandfair,determinedatTrial.




                                 C O IJN T M I.
                 CIW L CO N SPIR ACY TO CO M M IT LAR CENY


770.        Petitionerre-allegesand affirmseach and every preceding paragraph of

thisCom plaintand incop orate sam e here asifalleged anew .




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771.         DefendantAURORA in referenceto itsrelationship with thisPetitioneris

thatbetween the M akerand aThird-party-D ebt-collector,underthe financialover-

sightofthe occupantofthe Offke ofCEO and PRESID ENT ofAU ROR A,w ho know s

or should know ,Petitioner'sN O TE in question is legally unattainable by A UR O R A,

based on Prem isesConsidered and the factsaid M ortgage-N oW isheld asa

collateralized interestw ithin aREW C,hypothecated to theDTC;

772.         D efendant,the occupantofthe Offke ofCEO and PRESID ENT of

A U R O R A is using Superior-c ow ledgeto take advantage ofPetitioner's ignorance of

the fnancialm atrix involved within the M ortgage,devised a schem e to cheatBorrow er

ofproperty,and otherssim ilarly situated,by constructivem isrepresentation;

773.         Defendant,theoccupantoftheOfficeofCEO and PRESIDEN T of

A URORA isusing Superior-c owledgeto take advantageofthe Courtsystem by

subterfuge(M ERS*- fabricatedAssignments)to cheatPetitionerofproperty, and
others sim ilarly situated,by constructive m isrepresentation;

774.         Defendant,the occupantofthe Oftk eofCEO and PRESIDEN T of

AURORA isin Privity with a1lParty signatoriesto the Verified Controlling-Docum ents

fled with the Securitiesand ExchangeCom m ission,knows,orshould haveknown,

Petitioner'sProm issorp N oW isregistered in the care custody and controlofaREV C;




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775.         Defendant,the occupantofthe OfficeofCEO and PRESID ENT of

AURORA makecash flow paymentstosaidREM IC monthly(directly,orindirectly
byway ofLEHM AN BROTHERS HOLDINGS INC,orSTRU CTURED A SSET

SECURITIES CORPOM TION,asintermediary);
776.         Defendant,the occupantofthe Oftk eofCEO and PM SID ENT of

AUROM know sorshould know AUROR A doesnotdisbursem onthly cash flow

paym entsto LEHM AN BROM         RS BAN K FSB asLEHM AN BROM            RS BAN K

FSB'Sdebthasbeen discharged;

777.        Petitionerdoesnotow e any m oney to LEHM AN BROTHERS BAN K

FSB,and AURORA knowsthisto be true,therefore hasrefused to validate said debt,

afterreceiptofw ritten requestto do so;subsequently,

778.        AURORA'Srefused to display the OriginalN OTE when requested to do so,

underU .C.C.3-501,subsequently Petitionerdiscontinued paym ent, withoutdishonor.

779.        A1lpartiesto the Controlling-D ocum entsareBankruptorin

reorganization,and should LEH M AN X S TRU ST M OR TGA G E PA SS-TG O U G H

CERTIFICATES,SERIES 2006-11everbecom e insolvent,liquidate in whole orpart

then AUROR A oritsParentwillretain thewind-fall,foreclosed property and alike, not

by negotiation,butby lastm an standing using a constructive deception againstthe

BorrowerandtheAmericanjusticesystem;




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